           1:19-cv-01133-SEM-DJQ           # 172       Filed: 05/05/22     Page 1 of 1
                                                                                                     E-FILED
                                                 Thursday, 05 May, 2022 01:09:02 PM
                       UNITED STATES DISTRICT COURT Clerk, U.S. District Court, ILCD
                        CENTRAL DISTRICT OF ILLINOIS
                                      www.ilcd.uscourts.gov

          NOTIFICATION OF CHANGE OF ATTORNEY ADDRESS OR NAME

Instructions: Complete this form and e-file it in each open case you list below. The event used to
e-file this change is under the Notice Section, subsection Notice of Address Change. It is
important that you select this event for either an address change or name change. If you have a
change to your e-mail address, this does not need to be e-filed with the court. However, you are
responsible for updating and maintaining your e-mail address within CM/ECF. IT IS
IMPERATIVE TO KEEP YOUR E-MAIL ADDRESS UPDATED. Your e-mail address is your
means of receiving electronic case notices, therefore updating your record is critical. See
instructions regarding updating e-mail address. Any questions, please contact the division which
you are filing your notice.

            NAME                     Locke E. Bowman

            FIRM                     Loevy & Loevy

            STREET                    311 N. Aberdeen, 3rd FL
            ADDRESS
            CITY/STATE/ZIP            Chicago, IL 60607

            PHONE                     312-243-5900
            NUMBER

If you have previously filed an appearance with this Court using a different name, enter that
name:



List all active cases below in which you currently have an appearance on file.

         Case Number                      Case Title                      Assigned Judge
   19-cv-1133                      Gay v. Baldwin                   Judge Darrow




(Attach a separate sheet if necessary.)

 s/ Locke E. Bowman
_______________________________________                        5/5/2022
                                                             ___________________________
              Attorney’s Signature                                  Date
